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                                                      U.S. Department of Justice

                                                      CHANNING D. PHILLIPS
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                    June 10, 2021

Ann C. Flannery
Law Offices of Ann C. Flannery, LLC
1835 Market Street, Suite 2700
Philadelphia, PA 19103

       Re:      United States v. Andrew Wrigley
                Case No. 21-cr-42-ABJ

Dear Counsel:

This is to memorialize the following initial discovery 1 emailed to you on March 26, 2021:

   •   Criminal Complaint- “21-mj-26 SIGNED Criminal Complaint (Redacted).pdf"
   •   Arrest Warrant- “21-mj-26 SIGNED Arrest Warrant.pdf"
   •   Statement of Facts (for Criminal Complaint)- “21-mj-26 SIGNED Statement of
       Facts.pdf"
   •   Executed Arrest Warrant- “Executed Arrest Warrant.pdf"
   •   Information- “Information_ECF No. 3.pdf"
   •   Defendant’s Pretrial Services Report- “Wrigley-PSR.pdf"
   •   Search Warrant and Affidavit (Facebook/Instagram) (21-sc-680)- “signed-21-sc680
       Search Warrant ECF No. 1.pdf"
   •   Exhibits (3) provided by Andrew Wrigley at Initial Appearance in Pennsylvania (3—"
       Wrigley Exhibit 1.pdf", “Wrigley Exhibit 2.pdf”, “Wrigley Exhibit 3.pdf")
   •   Photos taken by/provided by US Capitol Police Investigator (Folder “Capitol Investigator
       Photos”)
   •   Instagram Photo Captures by US Capitol Police Investigator (Folder “Instagram Photo
       Captures (US Capitol Police)")
   •   FBI Case Intake 302 (“wrigl.pdf")

Initial discovery 2 provided via USAFX on May 27, 2021:

   •   MXU tips Serial 9, Serial 10 and Serial 17
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   •   Tips Serial 18 and Serial 19
   •   Witness interview, Serial 2 and Serial 5
   •   Two MOIs of interview, Serial 3 (redacted) with two attachments, Serial
       3_1A0000290_001 and _002
   •   Executed arrest warrant Serial 16 (redacted)

Initial discovery 3 provided via USAFX on June 3, 2021:

   •   Facebook search warrant
   •   Facebook return
   •   Instagram return

         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       Additional materials are provided since the Protective Order is in place.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

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        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.



                                                     Sincerely,

                                                     /s/ Mona Lee M. Furst
                                                     Mona Lee M. Furst
                                                     Assistant United States Attorney



Enclosure(s)
cc:




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